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                                              #461



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
vs.                                              )   CRIMINAL NO. 04-40037-GPM
                                                 )
GREGORY L. SLACK,                                )
                                                 )
                       Defendant.                )


      ACCEPTANCE OF PLEA OF GUILTY, ADJUDICATION OF
            GUILT, AND NOTICE OF SENTENCING
MURPHY, Chief District Judge:

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

there has been no timely objection, the plea of guilty of Defendant Gregory L. Slack to Counts 1,

2, 4, and 5 of the Indictment is hereby accepted, and Defendant is adjudged guilty of such offenses.

       A Presentence Investigation Report is ordered. The Court will defer a decision on the Plea

Agreement pending review of the Presentence Investigation Report.

       Sentencing is hereby scheduled for Monday, October 16, 2006, at 10:00 a.m. The hearing

on all pending motions previously scheduled for Monday, August 10, 2006, is CANCELED.

       IT IS SO ORDERED.

       DATED: 7/31/06

                                                     s/ G. Patrick Murphy
                                                     G. PATRICK MURPHY
                                                     Chief United States District Judge
